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 7
                                                                   The Honorable John C. Coughenour
 8
                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
10
        MYRIAM ZAYAS,                                         NO. 2:20-cv-00747 JCC
11
                                     Plaintiff,               DECLARATION OF BRENDAN
12                                                            LENIHAN IN SUPPORT OF
                 v.                                           DEFENDANTS JEFFREY
13                                                            WHITNEY, AMBER WHITNEY &
        ANNETTE MESSITT, JEFFREY                              DAVID LA RAUS’ MOTION TO
14      WHITNEY, AMBER WHITNEY, et                            DISMISS PURSUANT TO 12(b)(6)
        al.,
15
                                     Defendants.
16

17          Brendan Lenihan hereby declares as follows:

18          1.        I am over the age of 18 and am competent to testify about the matters stated herein.

19   I am an Assistant Attorney General, and I represent Defendants Jeffrey Whitney and Amber

20   Whitney in this case. As such, I am familiar with the contents of the case file in the matter. I make

21   this declaration based on my personal knowledge and the records in this case.

22          2.        Exhibit 1 of this declaration is a true and correct copy of Kelsey Owens’ Amended

23   Dependency Petition, dated March 16, 2020, and filed in King County Superior Court Juvenile

24   Division, cause number 20-7-00666-0 KNT.

25

26
       DECLARATION OF BRENDAN                             1                ATTORNEY GENERAL OF WASHINGTON
                                                                                       Torts Division
       LENIHAN IN SUPPORT OF                                                     7141 Cleanwater Drive SW
       DEFENDANTS JEFFREY WHITNEY,                                                    PO Box 40126
       AMBER WHITNEY AND DAVID LA                                                Olympia, WA 98504-0126
                                                                                      (360) 586-6300
       RAUS’ MOTION TO DISMISS -NO.
       2:20-cv-00747 JCC
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 1
             3.      Exhibit 2 of this declaration is a true and correct copy of the Order to Take Child
 2
     Into Custody and Place in Shelter Care, dated March 16, 2020, and filed in King County Superior
 3
     Court Juvenile Division, cause number 20-7-00666-0 KNT.
 4
             4.      Exhibit 3 of this declaration is a true and correct copy of the Shelter Care Hearing
 5
     Order, dated March 17, 2020, and filed in King County Superior Court Juvenile Division, cause
 6
     number 20-7-00666-0 KNT.
 7
             5.      Exhibit 4 of this declaration is a true and correct copy of the Order Continuing
 8
     Fact-Finding/Trial, dated July 6, 2020, and filed in King County Superior Court Juvenile Division,
 9
     cause number 20-7-00666-0 KNT.
10
             6.      Exhibit 5 of this declaration is a true and correct copy of the Pretrial Conference
11
     Order, dated August 24, 2020, and filed in King County Superior Court Juvenile Division, cause
12
     number 20-7-00666-0 KNT.
13
             7.      Exhibit 6 of this declaration is a true and correct copy of the Order of Dependency
14
     as to mother, Myriam Zayas, dated October 8, 2020, and filed in King County Superior Court
15
     Juvenile Division, cause number 20-7-00666-0 KNT.
16
             I declare under penalty of perjury of law under the laws of the State of Washington that the
17
     foregoing is true and correct.
18
             EXECUTED in Olympia, Washington on this 28th day of January 2021.
19

20
                                                  /s/ Brendan Lenihan
21                                                BRENDAN LENIHAN, WSBA No. 56066
                                                  Assistant Attorney General
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26
       DECLARATION OF BRENDAN                            2                ATTORNEY GENERAL OF WASHINGTON
                                                                                      Torts Division
       LENIHAN IN SUPPORT OF                                                    7141 Cleanwater Drive SW
       DEFENDANTS JEFFREY WHITNEY,                                                   PO Box 40126
       AMBER WHITNEY AND DAVID LA                                               Olympia, WA 98504-0126
                                                                                     (360) 586-6300
       RAUS’ MOTION TO DISMISS -NO.
       2:20-cv-00747 JCC
           Case 2:20-cv-00747-JCC           Document 47       Filed 01/28/21       Page 3 of 3




 1
                                    CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on the 28th day of January, 2021, I caused to be electronically filed

 4   the foregoing document with the Clerk of the Court using the CM/ECF system, which will

 5   send notification of such filing to the following:

 6
            Electronic Service to:
 7          JULIE DEE COOK
            Julie.Cook@kingcounty.gov
 8          For Defendants Pauline Duke, Debbie Cowan,
            Annette Messitt and Ann Danieli
 9
            Mailed to:
10          MYRIAM ZAYAS
            27369 129th Place SE
11          Kent, WA 98030
12

13

14                                                 /s/ Brendan M. Lenihan
15                                                 BRENDAN M. LENIHAN, WSB No. 56066
                                                   Assistant Attorney General
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26
       DECLARATION OF BRENDAN                             3              ATTORNEY GENERAL OF WASHINGTON
                                                                                     Torts Division
       LENIHAN IN SUPPORT OF                                                   7141 Cleanwater Drive SW
       DEFENDANTS JEFFREY WHITNEY,                                                  PO Box 40126
       AMBER WHITNEY AND DAVID LA                                              Olympia, WA 98504-0126
                                                                                    (360) 586-6300
       RAUS’ MOTION TO DISMISS -NO.
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